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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

MiMedx Group, Inc.
                                Plaintiff,
v.                                                    Case No.: 1:16−cv−11715
                                                      Honorable Manish S. Shah
Michael Fox
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 28, 2019:


       MINUTE entry before the Honorable Manish S. Shah: The motion for summary
judgment is taken under advisement and the court will issue a ruling via cm/ecf. No
appearance on 1/29/19 is necessary. Notices mailed. (psm, )




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